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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION




   In the Matter of the Search Regarding:     No. ^
   21-093-04                                  REDACTED SEARCH
                                              AND SEIZURE WARRANT




 TO:      ANY AUTHORIZED LAW ENFORCEMENT OFFICER

      An application by a federal law enforcement officer or an attorney for the
 government requests the search of the following property more fully described in
 Attachment A, attached hereto and incorporated herein by reference.

      I find that the affidavit, or any recorded testimony, establish probable
 cause to search and seize the property described above, and that such search
 will reveal evidence of violations of 18 U.S.C. §§ 2251, 2252, and 2252A
 (production, receipt and possession of child pornography), which is more fully
 described in Attachment B, attached hereto and incorporated herein by
 reference.


          YOU ARE COMMANDED to execute this warrant on or before
                                    (not to exceed 14 days)
 E^n the daytime - 6:00 a.m. to 10:00 p.m.
 □ at any time in the day or night asIfind reasonable cause has been established.
      Unless delayed notice is authorized below, you must give a copy of the
 warrant and a receipt for the property taken to the person from whom, or from
 whose premises, the property was taken, or leave the copy and receipt at the
 place where the property was taken.

       The officer executing this warrant, or an officer present during the
  execution of the warrant, must prepare an inventory as required by law and
  promptly return this warrant and inventory to the undersigned Judge.
          □ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification
  may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
  and authorize the officer executing this warrant to delay notice to the person
  who, or whose property, will be searched or seized,
  □ for           days (rwt to exceed 30).
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 □ until, the facts justifying, the later specific date of.


     C^ryhr^l                         at Pierre, South Dakota
 Date and Time Issued via video




                                              MARK A. MORENO
                                              United States Magistrate Judge
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION



     In the Matter of the Search Regarding:     No. ^
     21-093-04                                  REDACTED RETURN




   Date and time warrant executed:

   Copy of warrant and inventory left with:

   Inventory made in the presence of:

   Inventory of the property taken and name of any person(s) seized (attach
   additional sheets, if necessary):




                                       CERTIFICATION

I declare under penalty of perjury that this inventory is correct and was returned along
with the original warrant to the designated judge.

                                                     David Hohn, Special Agent
                                                     Homeland Security Investigations
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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION



   In the Matter of the Search Regarding:    No.:

   21-093-04                                 REDACTED ATTACHMENT A




                           Location, to be searched


       The property to be searched is the MediaLab KIK account with a usemame

             I" and a display name of "|            I" that is stored at premises

 owned, maintained, controlled, or operated by KIK Interactive, headquartered at

 1237 7th street Santa Monica, OA 90401 hereinafter referred to as "premises,"

 and further described in Attachment A hereto.
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION



   In the Matter of the Search Regarding:        No.:

   21-093-04                                     REDACTED ATTACHMENT B




                                 Items to be seized


    I.      Information to be disclosed by KIK, Inc.

         To the extent that the information described in Attachment A is within the
 possession, custody, or control of MediaLab (KIK), including any messages,
 records, files, logs, or information that have been deleted but are still available
 to MediaLab (KIK), or have been preserved pursuant to a request made under 18
 U.S.C. § 2703(f), KIK is required to disclose the following information to the
 government for each account or identifier listed in Attachment A:

            a. The contents of all folders associated with the account,
               including stored or preserved copies of files sent to and from
               the account, the source and destination addresses associated
               with file, and the date and time at which each file was sent;

            b. All transactional information of all activity of the KIK accounts
               described above, including log files, messaging logs, records
               of session times and durations, dates and times of connecting,
               and methods of connecting: and emails "invites" sent or
               received via KIK, and any contact lists;

            c. All records or other information regarding the identification of
               the account, to include full name, physical address, telephone
               numbers and other identifiers, records of session times and
               durations, the date on which the account was created, the
               length of service, the types of service utilized, the IP address
               used to register the account, log-in IP addresses associated
               with session times and dates, account status, alternative e-
               mail addresses provided during registration, methods of
               connecting, log files, and means and source of payment
               (including any credit or bank account number);
            d. All records or other information stored at any time by an
               individual using the account, including address books.
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               contact and buddy lists, calendar data, pictures, and files;
               and

            e. All records pertaining to communications between KIK and
               any person regarding the account or identifier, including
               contacts with support services and records of actions taken.
    II.     Information to be seized by the government

          All information described above in Section I that constitutes fruits,
 evidence and instrumentalities of violations of 18 U.S.(^^^25^ involving the
 account associated the KIK account with a username of              and a display
 name of                   pertaining to the possession and distribution of child
 pornography images.

    III.    Method of delivery

    Items seized pursuant to this search warrant can be served by sending, on
 any digital media device, to the Special Agent designated on the fax cover sheet
 located at the address 2708 North 1®' Ave Sioux Falls, SD 57104.
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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION




   In the Matter of the Search Regarding:

   21-093-04                                  REDACTED APPLICATION
                                              FOR SEARCH AND
                                              SEIZURE WARRANT




       I, David Hohn, being duly sworn depose and say:

      I am a Special Agent with the Homeland Security Investigations, and have
 reason to believe that on the property or premises as fully described in
 Attachment A, attached hereto and incorporated herein by reference, there is
 now concealed certain property, namely: that which is fully described in
 Attachment B, attached hereto and incorporated herein by reference, which I
 believe is property constituting evidence of the commission of criminal offenses,
 contraband, the fruits of crime, or things otherwise criminally possessed, or
 property designed or intended for use or which is or has been used as the means
 of committing criminal offenses, concerning violations of 18 U.S.C. §§ 2251,
 2252, and 2252A (production, receipt and possession of child pornography).

       The facts to support a finding of Probable Cause are contained in my
 Affidavit filed herewith,                                          ^




                                         ^-D^id Hohn, Special Agent
                                            Homeland Security Investigations

       Subscribed and sworn to before me, via video, on the         day of June,

 2021, at Pierre, South Dakota.




                                            MARK A. MORENO
                                            United States Magistrate Judge
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION



  In the Matter of the Search Regarding:

  21-093-04                                  REDACTED AFFIDAVIT IN
                                             SUPPORT OF SEARCH WARRANT
                                             APPLICATION



 STATE OF SOUTH DAKOTA         )
                               )SS
 COUNTY OF MINNEHAHA           )

       I, David Hohn, being first duly sworn on oath, deposes and states:

       1.      I am a Special Agent with the United States Department of

 Homeland Security, Immigration and Customs Enforcement (ICE), Homeland

 Security Investigations (HSI) in Sioux Falls, South Dakota and have been duly
 employed in this position since January 2020. I am a graduate of the Criminal
 Investigator Training Program and ICE Special Agent Training Program at the
 Federal Law Enforcement Training Center. Prior to my employment with HSI, I

 was a United States Probation officer for eleven years. I have received

 specialized    training pertaining to conducting criminal investigations,
 immigration and customs laws, investigative techniques, searching databases,
 conducting interviews, executing search warrants, and making arrests with
 respect to criminal violations of United States Code.

       2.      I have investigated and assisted in the investigation of cases

  involving the possession, receipt, and distribution of child pornography in
  violation of United States Statues 18 U.S.C. §§ 2251, 2252, and 2252A,
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 involving violations of law involving child pornography and 18 U.S.C. § 2422(b),
 enticement of a minor using the internet. During my law enforcement career, I

 have become familiar with the modus operandi of persons involved in the illegal

 production, distribution and possession of child pornography and those who
 engage in enticement of minors using the internet. Based on my experience
 and training, 1 am knowledgeable of the various means utilized by individuals
 who illegally produce, distribute, reeeive and possess child pornography.
       3.    I have been informed that 18 U.S.C. § 2422(b) prohibits enticing

 minors to engage in sexual acts and that 18 U.S.C. §§ 2251, 2252, and 2252A

 prohibit the manufacture, distribution, receipt, and possession of child
 pornography. Additionally, I have been informed that 18 U.S.C. § 1466A
 prohibits the distribution of visual representations of the sexual abuse of
 children and that such depictions include cartoon images.

       4.    The facts set forth in this affidavit are based on my personal

 knowledge; knowledge obtained from other individuals, including other law
 enforcement officers; interviews of persons with knowledge; my review of

 documents, interview reports and computer records related to this
 investigation; communications with others who have personal knowledge of the
 events and circumstances described herein; and information gained through

 my training and experience. This affidavit contains information necessary to
 support probable cause for this application and does not contain every material
 fact that I have learned during the course of this investigation; however, no
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  information known to me that would tend to negate probable cause has been

   withheld from this affidavit.

         5.     I make this affidavit in support of an application for a search

   warrant for information associated with the KIK account with a username of

              f' and a display name of "|              I" that is stored at premises

   owned, maintained, controlled, or operated          by MediaLab, Inc. (KIK),

   headquartered at 1222       Street Santa Monica, CA 90401 hereinafter referred

   to as "premises," and further described in Attachment A hereto.

                              STATUTORY AUTHORITY


         6.     This investigation concerns alleged violations of 18 U.S.C. § 2252A,

   relating to material involving the sexual exploitation of minors.

              a. 18 U.S.C. § 2252A(a)(2) prohibits knowingly receiving or
                 distributing any child pornography that has been mailed or
                 shipped or transported in interstate or foreign commerce by
                any means, including by computer.

              b. 18 U.S.C. § 2252A(a)(5)(B) prohibits a person from knowingly
                 possessing any book, magazine, periodical, film, videotape,
                 computer disk, or other material that contains an image of
                 child pornography that has been mailed, shipped, or
                 transported in interstate or foreign commerce by any means,
                 including by computer, or that was produced using materials
                 that have been mailed, shipped, or transported in interstate
                 or foreign commerce by any means, including by computer.

                                     DEFINITIONS


         7.     The following definitions apply to this affidavit and Attachments A

   and B:


              a. "Child Erotica," as used herein, means materials or items
                 that are sexually arousing to persons having a sexual
                 interest in minors but that are not necessarily, in and of
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             themselves, obscene or that do not necessarily depict minors
             in sexually explicit poses or positions.

          b. "Child pornography," as defined in 18 U.S.C. § 2256(8), is
             any visual depiction of sexually explicit conduct where (a)
             the production of the visual depiction involved the use of a
             minor engaged in sexually explicit conduct, (b) the visual
             depiction is a digital image, computer image, or computer-
             generated image that is, or is indistinguishable from, that of
             a minor engaged in sexually explicit conduct, or (c) the visual
             depiction has been created, adapted, or modified to appe^
             that an identifiable minor is engaged in sexually explicit
             conduct.


           c. "Cloud-based storage service," as used herein, refers to a
             publicly accessible, online storage provider that collectors of
             child pornography can use to store and trade child
             pornography in larger volumes. Users of such a service can
             share links and associated passwords to their stored files
              with other traders of child pornography in order to grant
              access to their collections. Such services allow individuals to
              easily access these files through a wide variety of electronic
              devices such as desktop and laptop computers, mobile
              phones, and tablets, anywhere and at any time.              An
              individual with the password to file stored on a cloud-based
              service does not need to be a user of the service to access the
              file. Access is free and readily available to anyone who has
              an internet connection.

           d. "Computer," as used herein, refers to an electronic,
              magnetic, optical, electrochemical, or other high speed data
              processing device performing logical or storage functions,
              and includes any data storage facility or commuriications
              facility directly related to or operating in conjunction with
              such device" and includes smartphones, and mobile phones
              and devices. See 18 U.S.C. § 1030(e)(1).

           e. "Computer hardware," as used herein, consists of aU
              equipment which can receive, capture, collect, analyze,
              create, display, convert, store, conceal, or transmit
              electronic, magnetic, or similar computer impulses or data.
              Computer hardware includes any data-processing devices
              (including, but not limited to, central processing units,
              internal and peripheral storage devices such as fixed disks,
              external hard drives, floppy disk drives and diskettes, and
              other memory storage devices); peripheral input/output
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             devices (including, but not limited to, keyboards, printers,
             video display monitors, and related communications devices
             such as cables and connections), as well as any devices,
             mechanisms, or parts that can be used to restrict access to
             computer hardware (including, but not limited to, physical
             keys and locks).

          f. "Computer software," as used herein, is digital information
             which can be interpreted by a computer and any of its
             related components to direct the way they work. Computer
             software is stored in electronic, magnetic, or other digital
             form. It commonly includes programs to run operating
             systems, applications, and utilities.

           g. "Computer-related documentation," as used herein, consists
             of written, recorded, printed, or electronically stored material
             which explains or illustrates how to configure or use
             computer hardware, computer software, or other related
             items.


           h. "Computer passwords, pass-phrases and data security
              devices," as used herein, consist of information or items
              designed to restrict access to or hide computer software,
              documentation, or data. Data security devices may consist
              of hardware, software, or other programming code.            A
              password or pass-phrase (a string of alpha-numeric
             characters) usually operates as a sort of digital key to
             "unlock" particular data security devices. Data security
             hardware may include encryption devices, chips, and circuit
              boards. Data security software of digital code may include
              programming code that creates "test" keys or "hot" keys,
              which perform certain pre-set security functions when
              touched. Data security software or code may also encrypt,
              compress, hide, or "booby-trap" protected data to make it
              inaccessible or unusable, as well as reverse the progress to
              restore it.

           i. A provider of "Electronic Communication Service" ("ESP"), as
              defined in 18 U.S.C. § 2510(15), is any service that provides
              to users thereof the ability to send or receive wire or
              electronic communications.        For example,       telephone
              companies and electronic mail companies" generally act as
              providers of electronic communication services. See S. Rep.
              No. 99-541 (1986), reprinted in 1986 U.S.C.C.A.N. 3555,
              3568.
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          j. "Electronic Storage Device" includes but is not lirnited to
             external and internal hard drives, thumb drives, flash drives,
             SD cards, gaming devices with storage capability, storage
             discs (CDs and DVDs), cameras, cellular phones, smart
             phones and phones vdth photo-taking and/or internet
             access capabilities, and any "cloud" storage by any provider.
          k. "File Transfer Protocol" ("FTP"), as used herein, is a standard
             network protocol used to transfer computer files from one
             host to another over a computer network, such as the
             Internet. FTP is built on client-server architecture and uses
             separate control and data connections between the client
             and the server.


          1. "Internet Protocol address" or "IP address," as used herein,
             refers to a unique number used by a computer to access the
             Internet. IP addresses can be "dynamic," meaning that the
             ISP assigns a different unique number to a computer every
             time it accesses the Internet. IP addresses might also be
             "static," if an ISP assigns a user's computer a particular IP
             address that is used each time the computer accesses the
             Internet.


           m."Internet Service Providers" ("ISPs"), as used herein, are
             commercial organizations that are in business to provide
             individuals and businesses access to the Internet.        ISPs
             provide a range of functions for their customers including
             access to the Internet, web hosting, e-mail, remote storage,
             and co-location of computers and other communications
             equipment.

           n. "Records," "documents," and "materials," as used herein,
             include all information recorded in any form, visual or aural,
              and by any means, whether in handmade, photographic,
              mechanical, electrical, electronic, or magnetic form.

           o. "Remote Computing Service" ("RCS"), as defined in 18 U.S.C.
              § 2711(2), is the provision to the public of computer storage
              or processing services by means of an electronic
              communications system.

           p. "Short Message Service" ("SMS"), as used herein, is a service
              used to send text messages to mobile phones. SMS is also
              often referred to as texting, sending text messages or text
              messaging. The service allows for short text messages to be
              sent from one cell phone to another cell phone or from the
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               Web to another cell phone. The term "computer," as defined
               in 18 U.S.C. § 1030(e)(1), means an electronic, magnetic,
               optical, electrochemical, or other high speed data processing
               device performing logical, arithmetic, or storage functions,
               and includes any data storage facility or communications
               facility directly related to or operating in conjunction with
               such device.

             q. "Sexually explicit conduct," as defined in 18 U.S.C. §
                2256(2), means actual or simulated (a) sexual intercourse,
                including genital-genital, oral-genital, or oral-anal, whether
                between persons of the same or opposite sex; (h) bestiality;
                (c) masturbation; (d) sadistic or masochistic abuse; or (e)
                lascivious exhibition of the genitals or pubic area of any
                person.


             r. "Visual depiction," as defined in 18 U.S.C. § 2256(5),
                includes undeveloped film and videotape, data stored on
                computer disc or other electronic means which is capable of
                conversion into a visual image, and data which is capable of
                conversion into a visual image that has been transmitted by
                any means, whether or not stored in a permanent format.
     BACKGROUND ON CHILD EXPLOITATION AND CHILD PORNOGRAPHY,
                     COMPUTERS. THE INTERNET, AND EMAIL

        8.      I have had both training and experience in the investigation of
   computer related crimes. Based on my training, experience, and knowledge, I
   know the following:

             a. Computers and digital technology have dramatically changed
                the way in which individuals interested in child pornography
                interact with each other. Computers basically serve many
                functions for persons who exploit children online; they serve
                as a mechanism for meeting child-victims and communicate
                with them; they serve as a mechanism to get images of the
                children and send images of themselves; computers serve as
                the manner in which persons who exploit children online can
                meet one another and compare notes.

             b. Persons who exploit children online, can now transfer
                printed photographs into a computer-readable format with a
                device known as a scanner. Furthermore, with the adveiit of
                digital cameras and smartphones with cameras, when the
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             photograph is taken it is saved as a digital file that can be
             directly transferred to a computer by simply connecting the
             camera or smartphpne to the computer. In the last ten
             years, the resolution of pictures taken by digital cameras
             and smartphones has increased dramatically, meaning that
             such pictures have become sharper and crisper. Photos
             taken on a digital camera or smartphone may be stored on a
             removable memory card in the camera or smartphone.
             These memoiy cards often store up to 32 gigab5rtes of data,
             which provides enough space to store thousands of high-
             resolution photographs. Video camcorders, which once
             recorded video onto tapes or mini-CDs, now can save video
             footage in a digital format directly to a hard drive in the
             camera. The video files can be easily transferred from the
             camcorder to a computer.

           c. A device known as a modem allows any computer to connect
             to another computer through the use of telephone, cable, or
             wireless connection.    Klectronic contact can be made to
             literally millions of computers around the world. The ability
             to produce child pornography easily, reproduce it
             inexpensively, and market it anonymously (through
             electronic communications) has drastically changed the
             method of distribution and receipt of child pornography.
             Child pornography can be transferred via electronic mail or
             through file transfer protocols (FTPs) to anyone with access
             to a computer and modem. Because of the proliferation of
             commercial services that provide electronic mail service, chat
             services (i.e., "Instant Messaging"), and easy access to the
             Internet, the computer is a preferred method of distribution
             and receipt of child pornographic materials.

           d. The computer's ability to store images in digital form makes
              the computer itself an ideal repositoiy for child pornography
              and other materials used for the online child exploitation.
              The size of the electronic storage media (commonly referred
              to as the hard drive) used in home computers has grown
              tremendously within the last several years. These drives can
              store thousands of images at very high resolution. In
              addition, there are numerous options available for the
              storage of computer or digital files. One-Terabyte external
              and internal hard drives are not uncommon. Other media
              storage devices include CDs, DVDs, and "thumb," "jump," or
              "flash" drives, which are veiy small devices which are
              plugged into a port on the computer. It is extremely easy for
              an individual to take a photo or a video with a digital camera
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               or camera-bearing smartphone, upload that photo or video to
               a computer, and then copy it (or any other files on the
               computer) to any one of those media storage devices (CDs
               and DVDs are unique in that special software must be used
               to save or "burn" files onto them). Media storage devices can
               easily be concealed and carried on an individual's person.
               Smartphones and/or mobile phones are also often carried on
               an individual's person.

             e. The Internet affords individuals several different venues for
                meeting and exploiting children in a relatively secure and
                anonymous fashion.

             f. Individuals also use online resources to exploit children,
               including services offered by Internet Portals such as Gmail
                and Hotmail, among others. The online services allow a user
                to set up an account with a remote computing service that
                provides e-mail services as well as electronic storage of
                computer files in any variety of formats. A user can set up
                an online storage account from any computer with access to
                the Internet. Even in cases where online storage is used,
                however, evidence of child pornography can be found on the
                user's computer or external media in most cases.

             g. As is the case with most digital technology, communications
                by way of computer can be saved or stored on the computer
                used for these purposes. Storing this information can be
                intentional, i.e., by saving an e-mail as a file on the
                computer or saving the location of one's favorite websites in,
                for example, "bookmarked" files.      Digital information can
                also be retained unintentionally, e.g., traces of the path of an
                electronic communication may be automatically stored in
                many places (e.g., temporary files or ISP client software,
                among others). In addition to electronic communications, a
                computer user's Internet activities generally leave traces or
                "footprints" in the web cache and history files of the browser
                used. Such information is often maintained indefinitely until
                overwritten by other data.

                                   KIK Background

        9.      Kik advertises itself as "the first smartphone messenger with a

   built-in browser." Kik Messenger allows its users to "talk to your friends and

   browse and share any web site with your friends on Kik." Kik believes it is at
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  the forefront of the "new era of the mobile web." Kik was founded in 2009 by a

  group of University of Waterloo students who started a company designed to
  "shift the center of computing from the PC to the phone." According to the
  website, Kik Messenger, a free service easily downloaded from the Internet, has
  become the simplest, fastest, most life-like chat experience you can get on a
  smartphone. Unlike other messengers, Kik usernames - not phone numbers -
  are the basis for Kik user accounts, so Kik users are in complete control of with
  whom they communicate. In addition, Kik features include more than instant
   messaging. Kik users can exchange images, videos, sketches, stickers and
  even more with mobile web pages.

         10.   The Kik app is available for download via the App Store for most
  iOS devices such as iPhones and iPads and is available on the Google PlayStore

  for Android devices. Kik can be used on multiple mobile devices, to include

   cellular phones and tablets.

         11. In general, providers like Kik ask each of their subscribers to
   provide certain personal identifying information when registering for an
   account. This information can include the subscriber's full name, physical

   address, and other identifiers such as an e-mail address. However, the
   accuracy of this information is not verified by Kik.

         12.   Kik typically retains certain transactional information about the
   creation and use of each account on their systems. This information can

   include the date on which the account was created, the length of service,

   records of log-in (i.e., session) times and durations, the types of service utilized.
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  the status of the account (including whether the account is inactive or closed),
  the methods used to connect to the account, and other log files that reflect

  usage of the account. Kik often has records of the Internet Protocol address
  ("IP address") used to register the account and the IP addresses associated with
  particular logins to the account. Because every device that connects to the
  Internet must use an IP address, IP address information can help to identify

  which computers or other devices were used to access the account. In
  addition, generally Kik maintains at least the last 30 days of all
  communications for each Kik user and will produce these records when

  requested pursuant to a search warrant.

         13.      Kik offers users the ability to create an identity within the app

  referred to as a "username." This username is unique to the account and

  cannot be changed. No one else can utilize the same username. A Kik user
   would have to create a new account in order to obtain a different username.

  The username for a particular Kik account holder is generally displayed in their
   Kik profile.

         14.      In October 2019, Kik was purchased by MediaLab, a company

   operating in the United States. Given the ability for users to create multiple
   accounts that are not linked to a specific mobile device (i.e. a phone number), it

   has become a popular app used by people involved in the collection, receipt,
   and distribution of child pornography.
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                                 DROPBOX INC.


        15.    "Dropbox" refers to an online storage medium on the internet

  accessed from a computer or electronic storage device. As an example, online

  storage mediums such as Dropbox make it possible for the user to have access
  to saved files without the requirement of storing said files on their own

  computer or other electronic storage device. Dropbox is an "offsite" storage

  medium for data that can be viewed at any time from any device capable of

  accessing the internet.    Users can store their files on Dropbox and avoid
  having the files appear on their computer. Anyone searching an individual's
  computer that utilizes Dropbox would not be able to view these files if the user
  opted only to store them at an offsite such as Dropbox. These are often viewed
  as advantageous for collectors of child pornography in that they can enjoy an

  added level of anonymity and security.

         16.   Dropbox provides a variety of on-line services, including online

  storage access, to the general public. Dropbox allows subscribers to obtain
  accounts at the domain name www.dropbox.com.             Subscribers obtain a

  Dropbox account by registering with an email address. During the registration
  process, Dropbox asks subscribers to provide basic personal identifying
  information. This information can include the subscriber's full name, physical

   address, telephone numbers and other identifiers, alternative e-mail addresses,

   and, for paying subscribers, means and source of payment (including any

   credit or bank account number).
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         17.   When the subscriber transfers a file to a Dropbox account, it is

  initiated at the user's computer, transferred via the Internet to the Dropbox

  servers, and then can automatically be synchronized and transmitted to other

  computers or electronic devices that have been registered with that Dropbox
  account. This includes online storage in Dropbox servers. If the subscriber

  does not delete the content, the files can remain on Dropbox servers

  indefinitely. Even if the subscriber deletes their account, it may continue to be

   available on the Dropbox servers for a certain period of time.

         18.   Online storage providers typically retain certain transactional

  information about the creation and use of each account on their systems. This

  information can include the date on which the account was created, the length

   of service, records of log-in (i.e., session) times and durations, the types of

   service utilized, the status of the account (including whether the account is

   inactive or closed), the methods used to connect to the account, and other log

   files that reflect usage of the account. In addition, online storage providers

   often have records of the Internet Protocol address ("IP address") used to

   register the account and the IP addresses associated with particular logins to
   the account. Because every device that connects to the Internet must use an

   IP address, IP address information can help to identify which computers or

   other devices were used to access the account.

         19.   In some cases, Dropbox account users will communicate directly

   with Dropbox about issues relating to the account, such as technical problems,
   hilling inquiries, or complaints from other users. Online storage providers
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  typically retain records about such communications, including records of

  contacts between the user and the provider's support services, as well records

  of any actions taken by the provider or user as a result of the communications.

                    BACKGROUND OF THE INVESTIGATION


        20.   On April 13, 2021, I received a cyber tip from the South Dakota

  Internet Crimes Against Children (ICAC) Task Force. The cyber tip came from

  the National Center for Missing and Exploited Children (NCMEC) regarding a

  Dropbox account with the username "J                    I" and email address

  lllllllllllllllll^millllHI^I. The cyber tip included IP addresses which had
  accessed the Dropbox account.

        21.   An IP address which accessed the Dropbox account on IIHH
        was identified as                                          I. A reverse IP

  address lookup found this IP address is registered to Midcontinent

  Communications with a possible subscriber location in Sioux Falls, South

  Dakota. A summons was sent to Midco Communications requesting subscriber

  information for the IP address. Midco Communications responded stating on

               I, this IP address was leased to                located at


       ■■■, Sioux Falls, SD 57104-1947.
        22.   Accurint   showed   the   email   account

  belongs to a                 with a residential address of

              I, Canton SD 57103-1653. A subpoena to Gmail showed the
  subscriber for the email account                              signed up for the
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  account using the name                   with a residence in Sioux Falls, South

  Dakota.


        23.   The cyber tip also included two video files depicting suspected

  child pornography. I reviewed the video files which are described below:

              Filename: Video
              Description:




              Filename: Video
              Description:




        24.   On May 6, 2021, Magistrate Judge Veronica L. Duffy in the District

  of South Dakota signed a search warrant for the Dropbox account with the

                             r and email address                             . On


  May 17, 2021, I viewed the results of the Dropbox search warrant which were

  received on May 6, 2021. A review of the file date showed all the video files in

  the account were added on

        25. The Dropbox account contained three folders intitled: "|
                              I", and          The i           I" folder contained
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  18 videos of age difficult pornography. The "|                I" personal folder

  contained 38 pictures and 8 videos of adult or age difficult pornography. In the

  folder entitled "1       there were 118 videos. At least 22 of the videos in the

  folder appeared to be child pornography videos and the rest of the videos were

  age difficult or adult pornography. I viewed the videos; a description of 3 of the

  child pornography videos is provided.

               Filename: Video
               Description:




               Filename:
               Description:
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              Filename:
              Description:




        26.   On June 2, 2021, U.S. Magistrate Judge Mark A. Moreno signed a




                in Watertown, SD.

        27.   During the search,
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        28.   After downloading the files,




        29.   This investigation revealed that




          CHARACTERISTICS COMMON TO INDIVIDUALS WHO HAVE
          A SEXUAL INTEREST IN CHILDREN AND/OR WHO RECEIVE
                   AND/OR POSSESS CHILD PORNOGRAPHY

        30.   Based on my previous investigative experience related to child
   exploitation investigations, and the training and experience of other law
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  enforcement officers with whom I have had discussions, I know there are

  certain characteristics common to individuals who have a sexual interest in

  children and/or receive, or possess images of child pornography;

           a. Individuals who have a sexual interest in children and/or
              receive, or possess images of child pornography may receive
              sexual gratification, stimulation, and satisfaction from
              contact with children, or from fantasies they may have
              viewing children engaged in sexaial activity or in sexually
              suggestive poses, such as in person, in photographs, or
              other visu^ media, or from literature describing such
              activity.

           b. Individuals who have a sexual interest in children and/or
              receive, or possess images of child pornography may collect
              sexually explicit or suggestive materials, in a variety of
              media, including photographs, magazines, motion pictures,
              videotapes, books, slides and/or drawings or other visual
              media. Individuals who have a sexual interest in children or
              images of children oftentimes use these materials for their
              own sexual arousal and gratification. Further, they may use
              these materials to lower the inhibitions of children they are
              attempting to seduce, to arouse the selected child partner, or
              to demonstrate the desired sexual acts.

           c. Individuals who have a sexual interest in children and/or
              receive, or possess images of child pornography almost
              always possess and maintain their hard copies of child
              pornographic material, that is, their pictures, films, video
              tapes, magazines, negatives, photographs, correspondence,
              mailing lists, books, tape recordings, etc., in the privacy and
              security of their home or some other secure location.
              Individuals who have a sexual interest in children or images
              of children often retain pictures, films, photographs,
              negatives, magazines, correspondence, books, tape
              recordings, mailing lists, child erotica, and videotapes for
              many years.


           d. Likewise, individuals who have a sexual interest in children
              and/or receive, or possess images of child pornography often
              maintain their child pornography images in a digital or
              electronic format in a safe, secure, and private environment,
              such as a computer and surrounding area. These child
              pornography images are often maintained for several years
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            and are kept close by, usually at the possessor's residence,
            inside the possessor's vehicle, or, at times, on their person,
            to enable the individual to view the child pornography
            images, which are valued highly.

         e. Individuals who have a sexual interest in children and/or
            receive, or possess images of child pornography also may
            correspond with and/or meet others to share information
            and materials, rarely destroy correspondence from other
            child pornography distributors/possessors, conceal such
            correspondence as they do their sexually explicit material,
            and often maintain lists of names, addresses, and telephone
            numbers of individuals with whom they have been in contact
            and who share the same interests in child pornography.

         f. Individuals who have a sexual interest in children and/or
            receive, or possess images of child pornography prefer not to
            be without their child pornography for any prolonged time
            period.  This behavior has been documented by law
            enforcement officers involved in the investigation of child
            pornography throughout the world.

                                 CONCLUSION


      31.   Based on my training and experience, and the facts as set forth in

this affidavit, I respectfully submit this Affidavit in support of probable cause

for a Warrant to search the location described in Attachment A.        The facts

 outlined above show that the account listed in Attachment A have been used

for the exploitation of children using the internet including violations of 18

 U.S.C. §§ 2251, 2252, 2252A (production, receipt and possession of child

 pornography), which items are more specifically described in Attachment B.
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                                          -B^d Hohn
                                           Special Agent
                                           Homeland Security Investigation

        Subscribed and sworn to before me, via video, on the i**   day of June

  2021, at Pierre, South Dakota.




                                           MARK A. MORENO
                                           United States Magistrate Judge
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION



    In the Matter of the Search Regarding:    No.:                ^
    21-093-04                                 REDACTED ATTACHMENT A




                            Location to be searched


        The property to be searched is the MediaLab KIK account with a usemame

              I" and a display name of "\            I" that is stored at premises

  owned, maintained, controlled, or operated by KIK Interactive, headquartered at

  1237 7^ Street Santa Monica, OA 90401 hereinafter referred to as "premises,"

  and further described in Attachment A hereto.
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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION



    In the Matter of the Search Regarding:        No.:
                                                  No.:           h     -
    21-093-04                                     REDACTED ATTACHMENT B



                                  Items to be seized


     I.      Information to be disclosed by KIK, Inc.

          To the extent that the information described in Attachment A is within the
  possession, custody, or control of MediaLab (KIK), including any messages,
  records, files, logs, or information that have been deleted but are still available
  to MediaLab (KIK), or have been preserved pursuant to a request made under 18
  U.S.C. § 2703(f), KIK is required to disclose the following information to the
  government for each account or identifier listed in Attachment A:

             a. The contents of all folders associated with the account,
                including stored or preserved copies of files sent to and from
                the account, the source and destination addresses associated
                with file, and the date and time at which each file was sent;

             b. All transactional information of all activity of the KIK accounts
                described above, including log files, messaging logs, records
                of session times and durations, dates and times of connecting,
                and methods of connecting: and emails "invites" sent or
                received via KIK, and any contact lists;

             c. All records or other information regarding the identification of
                the account, to include full name, physical address, telephone
                numbers and other identifiers, records of session times and
                durations, the date on which the account was created, the
                length of service, the types of service utilized, the IP address
                used to register the account, log-in IP addresses associated
                with session times and dates, account status, alternative e-
                mail addresses provided during registration, methods of
                connecting, log files, and means and source of payment
                (including any credit or bank account number);
             d. All records or other information stored at any time by an
                individual using the account, including address books.
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                contact and buddy lists, calendar data, pictures, and files;
                and

             e. All records pertaining to communications between KIK and
                any person regarding the account or identifier, including
                contacts with support services and records of actions taken.
     II.     Information to be seized by the government

           All information described above in Section I that constitutes fruits,
  evidence and instrumentalities of violations of 18 U.S.Ck§ 225^ involving the
  account associated the KIK account with a usemame of'<|||||||||||^^^|" and a display
  name of "IBIIIIHHil'' pertaining to the possession and distribution of child
  pornography images.

     III.    Method of delivery

     Items seized pursuant to this search warrant can be served by sending, on
  any digital media device, to the Special Agent designated on the fax cover sheet
  located at the address 2708 North 1®' Ave Sioux Falls, SD 57104.
